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 1                           IN THE UNITED STATES DISTRICT COURT

 2                              FOR THE DISTRICT OF PUERTO RICO

 3

 4    ADA CONDE VIDAL, et al.,

 5    Plaintiffs,

 6    v.                                                     CASE NO. 14-1253 (GAG)

 7    ALEJANDRO GARCÍA PADILLA, et al.,

 8    Defendants.

 9

10                                     DECLARATORY JUDGMENT
11           Pursuant to its Order on April 7, 2016 (Docket No. 73), the Court hereby enters the
12   following declaratory judgment:
13
             1.       Article 68 of the Puerto Rico Civil Code, P.R. LAWS ANN. tit. 31, § 221, as well
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     as any other Commonwealth law or provision that prohibits same-sex couples from marrying, or
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     which fails to recognize a valid same-sex marriage from another jurisdiction is
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     UNCONSTITUTIONAL.
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             2.       The Commonwealth of Puerto Rico, by way of its officials, employees and
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     agents, is hereby prohibited from enforcing Article 68 of the Puerto Rico Civil Code in its
19
     current version.
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             3.       The Commonwealth of Puerto Rico, by way of its officials, employees and
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     agents, shall give good faith and credit to same-sex marriages validly performed in any other
22
     jurisdiction.
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     Civil No. 14-1253 (GAG)


 1          4.      The Commonwealth of Puerto Rico, by way of its officials, employees and

 2   agents, shall guarantee validly married same-sex couples the same exact rights enjoyed by

 3   validly married opposite-sex couples.

 4          5.      Any valid marriage of same-sex couples performed in Puerto Rico on or after the

 5   Supreme Court’s decision in Obergefell v. Hodges, ___ U.S.___, 135 S.Ct. 2584 (June 26, 2015)

 6   shall be fully recognized by the Commonwealth, its officials, employees and agents, just as any

 7   opposite-sex marriage.

 8          6.      “The Commonwealth of Puerto Rico” for purposes of this judgment includes its

 9   executive, legislative and judicial branches, as well as its municipal governments.         It also

10   includes their officials, employees and agents, when acting in official capacity.

11          7.      The Court shall retain jurisdiction to enforce the present judgment until the Puerto

12   Rico Legislative Assembly repeals and/or amends the current version of Article 68 of the Civil

13   Code, or the Court otherwise so orders.

14          8.      Finally, this judgment does not require any religious official, duly authorized by

15   the Commonwealth to perform marriages, to perform same-sex marriages, if contrary to his/her

16   particular dogma or creed.

17          SO ORDERED.

18          In San Juan, Puerto Rico this 11th day of April, 2016.

19                                                                 s/ Gustavo A. Gelpí
                                                                  GUSTAVO A. GELPI
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                                                               United States District Judge
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